                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NEW YORK

ROSIE MARTINEZ,

                           Plaintiff,          16 CV 79 (RPK) (CLP)

               -against-

CITY OF NEW YORK, et al.,

                           Defendants.




                       Plaintiff’s Memorandum of Law in
                       Support of her In Limine Motions




                           Elefterakis, Elefterakis & Panek
                              80 Pine Street, 38th Floor
                            New York, New York 10005




September 30, 2022
                                                        Table of Contents
Table of Authorities .............................................................................................................. ii
Point I .................................................................................................................................. 1
     Defendants’ Rule 36 Admissions are “Conclusively Established“ ..................................... 1
Point II ................................................................................................................................. 3
     Defendants’ Proposed Exhibit II “Headshot Photos” Should be Precluded ..................... 3
Point III ............................................................................................................................... 4
     Defendants’ Proposed Exhibit O “Fortune Society Records” Should be Precluded .......... 4
Point IV ............................................................................................................................... 5
     Certain Facts regarding Defendant Laliberte’s Prior Misconduct, but not Discipline,
     should be Admitted ......................................................................................................... 5
Point V ............................................................................................................................... 10
     Plaintiff should be Permitted to Question the Officer Defendants using Leading
     Questions 10
Point VI ............................................................................................................................. 12
     Defendants should be Precluded from Testifying about Promotions, Commendations
     and Awards ................................................................................................................... 12
Point VII ............................................................................................................................ 13
     The Jury should determine at the same time whether Punitive Damages are appropriate
     against the individual Defendants and, if so, the amount of Punitive Damages ............. 13
Point VIII ........................................................................................................................... 16
     Relevant Sections of the Patrol Guide should be Admitted ............................................ 16
Point IX .............................................................................................................................. 17
     Reference to Any Prior Arrest of Plaintiff or Plaintiff’s Dispute with Her Neighbor or
     Co-Worker Should be Precluded................................................................................... 17
Point X ............................................................................................................................... 18
     Given the Facts here, the Jury should not be Charged on Nominal Damages ................ 18
Point XI .............................................................................................................................. 19
     Plaintiff is Entitled to an Adverse Inference ................................................................... 19
Conclusion ......................................................................................................................... 20




                                                                     i
                                                 Table of Authorities

                                                            CASES
Bixby v. KBR, Inc., 09 CV 632, 2012 U.S. Dist. LEXIS 143807 (D. Or. Oct. 4, 2012)
  ............................................................................................................................. 11
Brown v. City of New York, 798 F.3d 94 (2d Cir. 2015) .......................................... 16
Chonich v. Wayne County Community College, 874 F.2d 359 (6th Cir. 1989) ........... 12
Collado v. City of New York, 11 CV 9041 (DAB), 2017 WL 4533772 (S.D.N.Y. Sept.
  27, 2017) .............................................................................................................. 16
Cordero v. City of New York, 282 F. Supp. 3d 549 (E.D.N.Y. 2017) ........................ 10
Dallas v. Goldberg, No. 95 CV 9076, 2002 U.S. Dist. LEXIS 8829, (S.D.N.Y. May
  20, 2002) .............................................................................................................. 15
Hynes v. Coughlin, 79 F.3d 285, 293–94 (2d Cir. 1996) ............................................ 7
J & J Sports Prods., Inc. v. Belliard, 18 CV 5088 (DLI) (RER), 2022 WL 1748626
  (E.D.N.Y. Jan. 25, 2022) ....................................................................................... 2
Kemezy v. Peters, 79 F.3d 33, 37 (7th Cir. 1996) ...................................................... 15
Martinez v. City of New York, 16 CV 79 (AMD) (CLP), 2018 WL 604019 (E.D.N.Y.
  Jan. 24, 2018)......................................................................................................... 3
Martinez v. City of New York, 2018 WL 1835935, (E.D.N.Y. Apr. 18, 2018) ........... 3
Mathie v. Fries, 121 F.3d 808 (2d Cir. 1997) ..................................................... 14, 15
Mischalski v. Ford Motor Co., 935 F. Supp. 203 (E.D.N.Y. 1996) .............................. 6
Nnodimele v. Derienzo, 13 CV 3461 (ARR) (RLM), 2016 WL 3561708 (E.D.N.Y.
  June 27, 2016)...................................................................................................... 17
Provost v. City of Newburgh, 262 F.3d 146, 163 (2d Cir. 2001) ............................... 14
Redd v. New York State Div. of Parole, 923 F. Supp. 2d 393 (E.D.N.Y. 2013) ........... 6
Rosales v. Kelly, 07 CV 10554 (LAP), 2011 WL 5873374 (S.D.N.Y. Nov. 14, 2011) 8
Sabir v. Jowett, 143 F. Supp. 2d 217 (D. Conn. 2001)............................................... 7
Smith v. City of New York, 2015 WL 4643125 (S.D.N.Y. Aug. 5, 2015) ................. 16
Tardif v. City of New York, No. 13 CV 4056 (KMW), 2017 U.S. Dist. LEXIS
  135607 (SDNY Aug. 23, 2017)............................................................................ 17
United States v. Bagaric, 706 F.2d 42, 65 (2d Cir.) ..................................................... 7
United States v. Bravo, 808 F.Supp. 311 (S.D.N.Y. 1992) .......................................... 6
United States v. Davis, 183 F.3d 231 (3d Cir. 1999) .................................................. 8
United States v. Hicks, 748 F.2d 854 (4th Cir. 1984) ............................................... 12
United States v. Jones, 900 F.2d 512 (2d Cir. 1990) ................................................... 8
United States v. Kozlovski, 10 CR 58 (RRM), 2011 WL 4916915 (E.D.N.Y. Oct. 14,
  2011) ...................................................................................................................... 9
United States v. Nazzaro, 889 F.2d 1158 (1st Cir. 1989) .......................................... 13


                                                                ii
United States v. Nelson, 365 F.Supp.2d 381 (S.D.N.Y. 2005)..................................... 8
United States v. Schatzle, 901 F.2d 252 (2d Cir. 1990) ............................................... 7
United States v. Sperling, 726 F.2d 69 (2d Cir. 1984) ................................................. 9
United States v. Tomblin, 46 F.3d 1369 (5th Cir. 1995)............................................. 7
United States v. Triumph Capital Grp., 237 Fed. App’x. 625 (2d Cir. 2007) .............. 8
United States v. Washington, 106 F.3d 983 (D.C. Cir. 1997) ................................... 13
United States v. Weichert, 783 F.2d 23 (2d Cir.) ......................................................... 7
Vasbinder v. Ambach, 926 F.2d 1333 (2d Cir. 1991)................................................ 14
Wheatley v. Beetar, 637 F.2d 863, 865 (2d Cir. 1980) ........................................ 18, 19

                                                      STATUTES
42 U.S.C. § 1983 ..................................................................................................... 14

                                                        RULES
Fed. R. Civ. P. 36 .................................................................................................. 1, 2
Fed. R. Evid. 403 ....................................................................................................... 4
Fed. R. Evid. 404(a)(l) ............................................................................................. 13
Fed. R. Evid. 404(b) .......................................................................................... 13, 18
Fed. R. Evid. 608(b) ............................................................................................ 7, 18
Loc. Civ. R. 56.1(b) ................................................................................................... 5

                                                     TREATISES
28 Charles A. Wright & Victor J. Gold, Federal Practice and Procedure: Evidence .... 7
John W. Strong, McCormick on Evidence ............................................................... 10
Weinstein’s Evidence Manual, Student Edition, Tenth Edition 2015 .......................... 6
Weinstein’s Federal Evidence ................................................................................... 11




                                                            iii
                                         Point I

           Defendants’ Rule 36 Admissions are “Conclusively Established“

   During discovery in this action, plaintiff served defendants requests for admission in

accordance with Fed. R. Civ. P. 36. Defendants responded denying some facts and

admitting others. See Defendants’ Responses to Plaintiff’s Requests for Admission,

annexed to the Declaration of Gabriel P. Harvis dated September 30, 2022 (“Harvis

Decl.”) as Exhibit 1. Based on defendants’ admissions, plaintiff proposed the following

factual stipulations for inclusion in § 10 of the parties’ proposed Joint Pre-Trial Order:

   1. On January 22, 2015 Rosie Martinez was arrested and brought to the 107th
      Precinct.
   2. Pursuant to New York City Police Department (“NYPD”) Patrol Guide Section
      208-02, an arresting officer should complete a Prisoner Pedigree Card.
   3. The 107th Precinct Command Log Entry pertaining to plaintiff’s January 22,
      2015 arrest reflects that plaintiff’s physical condition at the time she was first
      brought into the precinct was “App. Normal.”
   4. Pursuant to NYPD Patrol Guide Section 208-02, a desk officer should file the
      Prisoner Pedigree Card by date and time of arrival at the command.
   5. Defendants have been unable to locate the Prisoner Pedigree Card related to
      plaintiff’s January 22, 2015, arrest.
   6. Defendant Camhi secured plaintiff by handcuffing her behind her back and
      handcuffing those handcuffs to a bench in the room.
   7. Defendant Camhi does not recall whether Rosie Martinez was crying (or
      sobbing) while in custody.
   8. Defendant Ryan made no entries in his memo book to memorialize his
      observations of plaintiff’s conduct in the 107th Precinct Juvenile Room.
   9. Defendant Camhi made no entries in his memo book to memorialize his
      observations of plaintiff’s conduct in the 107th Precinct Juvenile Room.
   10. No entries were made in the precinct command log to memorialize plaintiff’s
       conduct inside the 107th Precinct Juvenile Room.
   11. No entries were made in the precinct command log to memorialize defendant
       Camhi’s call to the Internal Affairs Command Center regarding Rosie Martinez’s
       injury on January 23, 2015.
   12. No UF-49 was prepared in connection with plaintiff’s injury in police custody.
   13. An ambulance was not called for Rosie Martinez.
   14. No Medical Treatment of Prisoner Form was prepared for plaintiff prior to her
       arrival at Queens Central Booking.
   15. Defendant DiGennaro did not make any notes or take any action concerning his
       observations of plaintiff in the 107th Precinct Juvenile Room
   16. Miranda warnings were not administered to plaintiff.
   17. Rosie Martinez was not in police custody at 8:00 p.m. on January 22, 2015.
   18. The date listed in the “Interview of MOS’ section on Def9484 is incorrect.
   19. Defendants have been unable to locate the 107th Precinct Prisoner Holding Pen
       Roster listing plaintiff as a prisoner for January 22-23, 2015.
   20. Defendant Ryan did not mention plaintiff punching a wall when he was
       interviewed by CCRB.

   Defendants struck plaintiff’s proposed stipulations from the draft Joint Pre-Trial

Order and refused to agree to them. Plaintiff now respectfully moves this Honorable

Court to enforce defendants’ admissions. “Once admitted, the matter that is the subject

of a request for admission ‘is conclusively established unless the court, on motion,

permits the admission to be withdrawn or amended.’” J & J Sports Prods., Inc. v. Belliard,

18 CV 5088 (DLI) (RER), 2022 WL 1748626, *5 (E.D.N.Y. Jan. 25, 2022) (quoting

Fed. R. Civ. P. 36(b)).




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   If it should please the Court, defendants have made no motion to withdraw or

amend their admissions and no grounds exist to grant such motion.

   Thus, facts 1-20, supra, should be deemed admitted for purposes of the trial.

                                        Point II

      Defendants’ Proposed Exhibit II “Headshot Photos” Should be Precluded

   In the Joint Pre-Trial Order, defendants indicate that they intend to move to

preclude plaintiff from referencing the order issued by the Hon. Cheryl L. Pollak

recommending terminating sanctions for defendants’ violation of fourteen discovery

orders. See Joint Pre Trial-Order, DE #2016, p. 80 at Defendants’ Anticipated Motion

in Limine 13; Martinez v. City of New York, 16 CV 79 (AMD) (CLP), 2018 WL

604019 (E.D.N.Y. Jan. 24, 2018); adopted in part Martinez v. City of New York, 2018

WL 1835935, (E.D.N.Y. Apr. 18, 2018).

   If it should please the Court, plaintiff has no intention of referencing the sanctions

order in her case-in-chief, but anticipates that defendants may open the door to such

evidence based on their proposed exhibits. Specifically, defendants have listed as their

proposed Exhibit II “headshots” of police officers produced during discovery as

supposed impeachment evidence regarding plaintiff’s credibility. But it would be highly

prejudicial, unfair and improper for defendants to be permitted to advance such

arguments, and particularly improper to allow them to do so in a vacuum. Plaintiff

respectfully submits that this defense exhibit should be precluded on the grounds that

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it lacks relevance and, in any event, would result in unfair prejudice, confusion, would

mislead the jury and cause undue delay and wasted time. Fed. R. Evid. 403.

   However, to the extent that defendants are permitted to offer or reference these

“headshot photographs,” fairness dictates that plaintiff be permitted to reveal to the jury

the context in which those headshots were produced, i.e., an egregiously incomplete

and inaccurate discovery record that the Court has held – as law of the case - resulted

solely from defendants’ refusal to abide by orders of this Honorable Court and their

discovery obligations. See Martinez, 2018 WL 604019, at *29 (“The Court completely

rejects defendants’ efforts to shift the blame to plaintiff or her counsel…”).

   Plaintiff respectfully submits that permitting defendants to use this proposed exhibit

will inevitably cause the proceedings to devolve into a mini trial (on settled issues related

to defendants’ discovery misconduct) that will waste time, confuse the jury and muddy

the waters to plaintiff’s prejudice. We respectfully submit that more prudent course is

to preclude defendants’ use of the “headshot photographs” (defendants’ Proposed

Exhibit II) on relevance and Rule 403 grounds.

                                         Point III

  Defendants’ Proposed Exhibit O “Fortune Society Records” Should be Precluded

   In the Joint Pre-Trial Order, defendants list as their proposed Exhibit O medical

and psychological records of the plaintiff from the Fortune Society that pre-date the

incident by approximately two years and primarily relate to gynecological and obstetric

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issues. Plaintiff suspects that defendants intend to offer this evidence because within the

records is a reference to a dispute plaintiff had with the resident of a neighboring

apartment in her building and a 2008 arrest for charges relating to a dispute with a co-

worker that were dismissed. These records have no probative value and will be confusing

to the jury, waste time and prejudice Ms. Martinez. The two extrinsic incidents – one

of which is an arrest that appears to have taken place 14 years ago where the charges

were dismissed and the other an argument – are not admissible pursuant to Rule

404(b)(1) and could be offered only as inadmissible character and propensity evidence.

   Accordingly, defendants’ proposed Exhibit O should be precluded.

                                        Point IV

 Certain Facts regarding Defendant Laliberte’s Prior Misconduct, but not Discipline,
                                should be Admitted

   As described and depicted in plaintiff’s Loc. Civ. R. 56.1(b) Counterstatement

submitted in opposition to defendants’ summary judgment motion, defendant

Laliberte, the desk officer positioned a few feet from plaintiff at the time of her injury

who was responsible for the command log and made no entries and now claims not to

remember the events, was caught on video sucker punching a handcuffed arrestee in his

custody in 2013. When the matter was investigated, defendant Laliberte lied to internal

affairs and only admitted the truth when he was confronter with the video. See DE #205

at p. 9-11, Figure 2 & n.3-n.4 (“When asked if he observed any MOS…punch any of



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the party goers, he stated no.… When asked if any of the arrestees had any injuries or

made any complaints against any MOS, he stated no. After viewing the video footage

that showed him punching Mr. in the face, Sgt. Laliberte stated that punching Mr. was

a bad decision, he made a mistake and is embarrassed by his actions.”).

   Such a substantiated act of dishonesty, rendered more transgressive by Laliberte’s

position of public trust, is presumptively admissible. Weinstein’s Evidence Manual,

Student Edition, Tenth Edition 2015, § 12.03(3)(a): Attacking Character: Cross-

Examining Witness About Specific Instances of Probative Conduct (“Acts such as

forgery, perjury, and fraud are probative of untruthfulness, and are presumptively

admissible under Rule 608(b). Other acts of dishonesty, of course, may also be probative

of dishonesty.”); Redd v. New York State Div. of Parole, 923 F. Supp. 2d 393, 403

(E.D.N.Y. 2013) (“[T]he Federal Rules of Evidence explicitly permit inquiry on cross-

examination into any specific instances of a witness’s conduct in order to attack or

support the witness’s character for truthfulness.”) (internal quotation marks omitted);

United States v. Bravo, 808 F.Supp. 311, 321–22 (S.D.N.Y. 1992) (“Rule 608 of the

Federal Rules of Evidence allows impeachment of witnesses by evidence of specific

instances of dishonesty regardless of whether there has been an official finding to that

effect.”); Mischalski v. Ford Motor Co., 935 F. Supp. 203, 207 (E.D.N.Y. 1996)




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(“Evidence that a witness has made false statements is obviously a matter that tends to

impugn a witness’s credibility.”).

   Trial courts in this circuit have broad discretion to allow or prohibit cross-

examination regarding specific acts of prior misconduct that bear on truthfulness. In

Hynes v. Coughlin the Second Circuit explained:

             With respect to attacks on, or bolstering of, a witness’s
             credibility, Rule 608 gives the trial court discretion to permit
             cross-examination (but not extrinsic evidence) as to
             “[s]pecific instances of [the witness’s] conduct” if those
             instances will be “probative of [the witness’s character for]
             truthfulness or untruthfulness.” Fed. R. Evid. 608(b). See
             generally 28 Charles A. Wright & Victor J. Gold, Federal
             Practice and Procedure: Evidence § 6117 (1993). Under this
             Rule, we have upheld, for example, cross-examination into
             an attorney’s disbarment, see United States v. Weichert, 783
             F.2d 23, 25 (2d Cir.) cert. denied, 479 U.S. 831, 107 S.Ct.
             117, 93 L.Ed.2d 64 (1986), into a witness’s failure to
             disclose a prior arrest on his bar application, see United States
             v. Schatzle, 901 F.2d 252, 255–56 (2d Cir. 1990), and into
             a prior finding by an Immigration Judge that the witness’s
             testimony in a deportation proceeding was not credible, see
             United States v. Bagaric, 706 F.2d 42, 65 (2d Cir.), cert.
             denied, 464 U.S. 840, 104 S.Ct. 133, 78 L.Ed.2d 128
             (1983); see also United States v. Tomblin, 46 F.3d 1369, 1389
             (5th Cir. 1995) (upholding cross-examination into a
             defendant’s alleged acts of fraud, bribery, and
             embezzlement).

79 F.3d 285, 293–94 (2d Cir. 1996); see Sabir v. Jowett, 143 F. Supp. 2d 217, 218 (D.

Conn. 2001) (“The first step in a 608(b) analysis is whether the specific conduct is




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probative of the witness’ character for truthfulness or untruthfulness.”) (collecting cases)

(citations omitted).

   In Rosales v. Kelly, as here, plaintiff sought “only to inquire into the underlying

circumstances surrounding Williams’s discipline for impeachment purposes under Rule

608(b)” and did not intend to “offer the disciplinary records themselves into evidence.”

07 CV 10554 (LAP), 2011 WL 5873374, *2 (S.D.N.Y. Nov. 14, 2011). Under such

circumstances, the Rosales court permitted cross-examination:

              Since the Court finds that the underlying circumstances of
              the disciplinary proceeding are probative of Williams’s
              character for untruthfulness, Plaintiff’s counsel may inquire
              into them on cross-examination. See, e.g., [United States v.]
              Davis, 183 F.3d [231,] 257 n.12 [3d Cir. 1999] (“To
              impugn [the witness’s] credibility, the government properly
              can question [him] about misappropriating departmental
              gasoline for personal use and putting a false name in a gas
              log, and it may question [him] about lying to an Internal
              Affairs officer about ripping up an individual’s subway
              pass.”); United States v. Nelson, 365 F.Supp.2d 381, 389
              (S.D.N.Y. 2005) (“Case law in this circuit indicates that
              questions [for Rule 608(b) impeachment purposes] that
              convey the fact of an adverse credibility finding against a
              witness in a previous [administrative proceeding] are
              permissible.”).

Id; see, e.g., United States v. Triumph Capital Grp., 237 Fed. App’x. 625, 630 (2d Cir.

2007) (“This Court has held that it can be appropriate to introduce false statements ...

under Rule 608(b)(1) to shed light on a witness’ credibility.”); United States v. Jones,

900 F.2d 512, 520 (2d Cir. 1990) (witness could be cross-examined regarding false


                                             8
statements made on applications for employment, an apartment, a driver’s license, a

loan, and membership in an association); United States v. Kozlovski, 10 CR 58 (RRM),

2011 WL 4916915, *2 (E.D.N.Y. Oct. 14, 2011) (permitting cross-examination

regarding submission of false time sheets to employer) (citation omitted); United States

v. Sperling, 726 F.2d 69, 74–75 (2d Cir. 1984) (approving cross-examination regarding

false credit card application).

   Here, plaintiff respectfully submits that the conduct at issue falls squarely within the

recognized ambit of Rule 608(b)(1) and cross-examination should be permitted. The

specific prior act of deceit occurred while the defendant was employed as a sworn

government official and was substantiated (and admitted), as well as proximate in time

to plaintiff’s injury.

   Lastly, the thrust of the misconduct – lying to NYPD investigators about assaulting

a restrained prisoner – is similar to the conduct surrounding the instant dispute,

supporting the application to allow cross-examination. See Nelson, 365 F. Supp. at 390:

               In evaluating the probity of specific instances of conduct,
               courts consider numerous factors, including “whether the
               testimony of the witness in question is crucial or
               unimportant, the extent to which the evidence is probative
               of truthfulness or untruthfulness, the extent to which the
               evidence is also probative of other relevant matters, the
               extent to which the circumstances surrounding the specific
               instances of conduct are similar to the circumstances
               surrounding the giving of the witness’s testimony, [and] the
               nearness or remoteness in time of the specific instances to


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              trial ....” John W. Strong, McCormick on Evidence § 41; see
              also Weinstein & Berger, supra, § 608.22[2][c][iv].

   Plaintiff further respectfully submits that preclusion of the evidence tending to

discredit Laliberte would result in grave prejudice to Ms. Martinez. With such a ruling,

the jury would be left with the unfair impression that Laliberte is cloaked in the

credibility of his official position and does not have a founded history of dishonesty. See

Cordero v. City of New York, 282 F. Supp. 3d 549, 554 (E.D.N.Y. 2017) (noting that

“most jurors find officers more credible than persons accused of crimes”).

                                         Point V

   Plaintiff should be Permitted to Question the Officer Defendants using Leading
                                     Questions

   In her case-in-chief, plaintiff intends to call several police officers with direct

knowledge of the disputed events, including the defendants.

       Rule 611 of the Federal Rules of Evidence provides, in relevant part, as follows:

              (c) Leading Questions. Leading questions should not be used
              on direct examination except as necessary to develop the
              witness’s testimony. Ordinarily, the court should allow
              leading questions:

              (1) on cross-examination; and
              (2) when a party calls a hostile witness, an adverse party, or
              a witness identified with an adverse party.

   Sound reason exists to permit plaintiff to examine these law enforcement witnesses

through the use of leading questions. As the Hon. Jack B. Weinstein has noted, three



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reasons have historically been given in favor of requiring non-leading questions on direct

examination: “First, that the witness is presumed to have a bias in favor of the party

calling him; secondly, that the party calling a witness, knowing what that witness may

prove, might by leading bring out only that portion of the witness’ story favorable to

his own case; and thirdly, that a witness, intending to be entirely fair and honest might

assent to a leading question which did not express his real meaning.” Weinstein’s

Federal Evidence § 611.06, at 4-611 (citation and footnote omitted). None of these

rationales apply to these witnesses, who were members of the NYPD at the time of

plaintiff’s injury and who were involved and prepared (or failed to prepare) related

paperwork.

   We have every reason to believe that the law enforcement witnesses will side with

their fellow member of the NYPD, the defendants. As Judge Weinstein has recognized,

“[t]he prohibition against leading is inapplicable to hostile or biased witnesses, or to

witnesses who sympathize with the opponent’s cause or are unwilling for any other

reason to reveal what they know.” Id. See Bixby v. KBR, Inc., 09 CV 632, 2012 U.S.

Dist. LEXIS 143807, *11 (D. Or. Oct. 4, 2012) (“I interpret the phrase ‘a witness

identified with an adverse party’ as referring to a witness whose relationship to an

opposing party is such that the witness’ interests vis-a-vis the litigation proceedings in

which the witness’ testimony is offered can reasonably be expected, under all the



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applicable circumstances, to be either identical to those of the adverse party or, at

minimum, both closely aligned with those of the adverse party and of comparable

significance.”) (relying on Chonich v. Wayne County Community College, 874 F.2d 359,

368 (6th Cir. 1989), and United States v. Hicks, 748 F.2d 854, 859 (4th Cir. 1984)).

Accordingly, Ms. Martinez should be able to examine the law enforcement witnesses

through the use of leading questions.

                                        Point VI

Defendants should be Precluded from Testifying about Promotions, Commendations
                                  and Awards

   In police misconduct trials, law enforcement officers, whether testifying as

defendants or non-party witnesses, frequently attempt to discuss awards and

commendations that they have received throughout their career relating to acts of

bravery, valor, etc. Because such testimony is irrelevant to any issue at trial, represents

impermissible bolstering and propensity evidence in violation of Rule 404(b) of the

Federal Rules of Evidence, is inadmissible hearsay and otherwise unduly prejudicial,

Ms. Martinez respectfully seeks an order precluding the defendants, and any law

enforcement witnesses, from presenting such evidence.

   Whether the individual defendant or non-party law enforcement officers received

commendations in the past has no relevance on whether excessive force was used against

Rosie Martinez inside the Juvenile Room. In fact, the sole purpose of presenting such



                                            12
testimony in police misconduct litigation is to convince the jury that the law

enforcement officers are heroes who put their lives on the line to protect the citizenry

and, as a result, more trustworthy. This purpose, however, constitutes impermissible

propensity evidence. See Fed. R. Evid. 404(b). As mentioned, it is also inadmissible

hearsay, whose non-existent probative value is necessarily and substantially outweighed

by its danger of unfair prejudice. See United States v. Nazzaro, 889 F.2d 1158, 1168

(1st Cir. 1989) (in criminal prosecution for conspiracy to commit mail fraud and

perjury, among other things, appropriate to exclude evidence of commendations as

impermissible opinion evidence and inadmissible hearsay). See also United States v.

Washington, 106 F.3d 983, 999 (D.C. Cir. 1997) (commendations not admissible

under Fed. R. Evid. 404(a)(l), 405(a) or 405(b)).

                                        Point VII

     The Jury should determine at the same time whether Punitive Damages are
   appropriate against the individual Defendants and, if so, the amount of Punitive
                                       Damages

   Ms. Martinez requests that the issue of whether she is entitled to an award of punitive

damages against the individual defendants and, if so, the amount of punitive damages,

be presented to the jury for its consideration during its initial deliberations.

   While the Second Circuit has previously indicated that generally bifurcating the

jury’s consideration of the amount of punitive damages to be awarded is appropriate

because “[p]unitive damages are to be tailored to the defendant’s ability to pay, and

                                            13
normally that class of evidence is not admitted or desirable during the liability and

compensatory damages phase of the case,” Vasbinder v. Ambach, 926 F.2d 1333, 1344

(2d Cir. 1991), the City has conceded in prior litigation that it always indemnifies police

officers it represents when punitive damages are awarded against them. As discussed

below, the City’s decision to indemnify its police officers renders any evidence of the

police officers’ financial ability to pay irrelevant; thus, there is no reason to bifurcate

this issue.

   In actions brought pursuant to 42 U.S.C. § 1983, it has traditionally been

appropriate to have the jury consider a police officer’s financial condition when

considering the amount of punitive damages to assess. It is the officer’s obligation to

present evidence regarding his or her limited financial state if he or she wants the jury

to consider this evidence. Provost v. City of Newburgh, 262 F.3d 146, 163 (2d Cir. 2001)

(quotation omitted). In the situation presented here, however, where the City

indemnifies its officers in the case of punitive damages awards, the Second Circuit has

made clear that a plaintiff is permitted to present evidence of the fact of indemnification.

Mathie v. Fries, 121 F.3d 808 (2d Cir. 1997). As the Mathie Court wrote:

              [a]lthough we do not decide the question of whether a fact-
              finder can rely upon the existence of an indemnity agreement
              in order to increase an award of punitive damages, we rule
              that a fact-finder can properly consider the existence of such
              an agreement as obviating the need to determine whether a
              defendant’s limited financial resources justifies some


                                            14
              reduction in the amount that would otherwise be awarded. It
              would be entirely inappropriate for a defendant to raise the
              issue of his limited financial resources if there existed an
              indemnity agreement placing the burden of paying the
              award on someone else’s shoulders. See Kemezy v. Peters, 79
              F.3d 33, 37 (7th Cir. 1996) (“The defendant should not be
              allowed to plead poverty if his employer or an insurance
              company is going to pick up the tab.”).

Id. at 816 (emphasis in original). See also Dallas v. Goldberg, No. 95 CV 9076, 2002

U.S. Dist. LEXIS 8829, *14-15 (S.D.N.Y. May 20, 2002) (Swain, J.) (“[t]he

uncertainty of indemnification here is not an appropriate ground for preclusion of the

evidence proffered by Plaintiff, if such evidence is presented in rebuttal to an argument

for reduction of an otherwise appropriate punitive damages award”).

   As a result of the City’s indemnification of officers in the event of an award of

punitive damages, there is no need for the defendant officers to provide information

about his financial ability to pay an award of punitive damages – since an officer’s ability

to pay is irrelevant if the City indemnifies. With this otherwise irrelevant evidence

removed from the picture, the focus of the jury’s decision to award punitive damages

concerns the actions of the officers and the need to deter other police officers. Equally

important, if the jury decides that an award of punitive damages is appropriate, then

there is no reason to delay its determination of the amount of those damages – it should

not have to be impaneled anew to consider additional evidence, since there is no

additional evidence which is relevant. This is especially so since plaintiff will not elicit


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from the defendant officers any evidence regarding their financial resources.1

                                             Point VIII

                 Relevant Sections of the Patrol Guide should be Admitted

    As reflected in the Joint Pre-Trial Order (at Proposed Exhibits 181, 251-252),

plaintiff respectfully seeks to offer evidence and elicit testimony related to the following

relevant NYPD Patrol Guide sections:

       • PG§ 210-04 Prisoners Requiring Medical Treatment
       • PG§ 210-07 Prisoners -Unusual Occurrence
       • NYPD Student Guide (on relevant topics)

    In cases such as this one, where a jury is called upon to evaluate the reasonableness

of officers’ conduct, courts in this circuit routinely admit patrol guide evidence. See,

e.g., Collado v. City of New York, 11 CV 9041 (DAB), 2017 WL 4533772, *3 (S.D.N.Y.

Sept. 27, 2017) (Batts, J.) (collecting cases, and acknowledging that “a violation of the

Patrol Guide is not necessarily a violation of constitutional rights” but is nonetheless

relevant to an excessive force claim); Smith v. City of New York, 2015 WL 4643125, *3

(S.D.N.Y. Aug. 5, 2015) (Buchwald, J.). (“The [NYPD] Patrol Guide has frequently

been accepted as evidence of the standard of care to be exercised by a police officer.”);

Brown v. City of New York, 798 F.3d 94, 101 n.11 (2d Cir. 2015); Tardif v. City of New



1
 If the Court permits the defendants to present evidence of their ability to pay punitive damages, then
plaintiff will seek to introduce evidence of the City’s actual indemnification practice, as evidenced by
interrogatory responses.



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York, No. 13 CV 4056 (KMW), 2017 U.S. Dist. LEXIS 135607, *18-19 (SDNY Aug.

23, 2017) (“Whether the officers violated the NYPD Patrol Guide remains a significant

factor to be considered in ultimately determining whether the officers’ actions that day

were reasonable and subject to qualified immunity.”); Tardif v City of NY, 344 F Supp

3d 579, 608 (SDNY October 1, 2018).

   In Nnodimele v. Derienzo, the Hon. Allyne R. Ross permitted introduction of

relevant sections of the NYPD Patrol Guide over defendants’ objection:

             This court will also permit the parties to introduce relevant
             portions of the Patrol Guide and related testimony.
             Defendants seek to exclude such evidence because it contains
             guidelines that are distinct from standards imposed by the
             United States Constitution. Accordingly, defendants argue,
             the jury could be misled that violations of the Patrol Guide
             establish violations of the federal constitution. However,
             Chief Judge Mann has already ruled…that Patrol Guide
             evidence is admissible. This court agrees and joins a growing
             number of courts holding that in constitutional tort cases,
             expert testimony regarding sound professional standards
             governing a defendant’s actions can be relevant and helpful.

13 CV 3461 (ARR) (RLM), 2016 WL 3561708, *13-14 (E.D.N.Y. June 27, 2016)

(brackets, citations and internal quotation marks omitted).

                                         Point IX

Reference to Any Prior Arrest of Plaintiff or Plaintiff’s Dispute with Her Neighbor or
                         Co-Worker Should be Precluded

   Aside from the arrest at issue in this case, plaintiff has testified that she was arrested

approximately fourteen years ago, which is the same dismissed disorderly conduct arrest


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involving a co-worker mentioned in the Fortune Society records as discussed at Point

III, supra. In 2019, plaintiff was arrested on the cross-complaint of her neighbor after

Ms. Martinez alleges she was attacked. The disposition of those charges does not appear

in the record, but, upon information and belief, they were resolved without a felony

conviction.

   If it should please the Court, evidence related to either event should be precluded as

the first arrest is exceedingly remote, the second arrest post-dates the incident, both

arrests were resolved without felony conviction and neither incident has any bearing on

Ms. Martinez’s truthfulness or any probative value to the issues in dispute. Admission

would severely prejudice Ms. Martinez as the jury would view her in the light of the

other arrests.

   Thus, the evidence should be precluded under Fed. R. Evid. 404(b) and 608(b).

                                        Point X

     Given the Facts here, the Jury should not be Charged on Nominal Damages

   Ms. Martinez alleges, with the support of medical evidence, that the force used

against her resulted in the serious injuries requiring surgery. The defendants deny the

incident occurred and claim they never used force and that Ms. Martinez injured herself.

Under these circumstances, plaintiff respectfully submits that it would be error to charge

the jury on nominal damages.



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      In Wheatley v. Beetar, the Second Circuit considered an appeal following a trial in

which “[t]he jury specifically found that Wheatley had been the victim of an

unconstitutional use of force despite testimony from police officers that no force

whatsoever had been used.” 637 F.2d 863, 865 (2d Cir. 1980). The Second Circuit

reversed the trial court and ordered a new trial:

                Reviewing the evidence on damages in this case and drawing
                all factual inferences in favor of the appellees as we must, we
                conclude that in light of the jury’s verdict on liability the
                evidence mandates an award of more than nominal damages.
                It was error to charge the jury that an award of nominal
                damages was permissible and an abuse of discretion not to
                set it aside.

Id.

      Here, plaintiff respectfully submits that it would be impossible for a rational jury to

credit plaintiff’s account on the question of liability and not award compensatory

damages. Accordingly, plaintiff respectfully requests that the jury instructions and

verdict sheet omit any mention of nominal damages.


                                           Point XI

                         Plaintiff is Entitled to an Adverse Inference

      If it should please the Court, it is undisputed that defendants failed to maintain and

were unable to produce the prisoner pedigree form – a record of plaintiff’s physical

condition at the time of her arrival at the precinct – and the prisoner holding pen roster



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for the female cells at the precinct – which would have recorded both plaintiff’s

condition and the number of times officers went in to “check on” her. See Point I at

Facts 4-5 & 19. Because these records would, by their very nature, bear on questions of

liability that will be presented to the jury, they are material and plaintiff is entitled to a

curative remedy for their absence. Plaintiff respectfully proposes that the Court, in its

instructions, allow, but not require, the jury to conclude that the missing evidence

would have been favorable to Ms. Martinez’s claims.

                                        Conclusion

   For the foregoing reasons, plaintiff respectfully requests that the Court grant

plaintiff’s motions in limine and grant plaintiff such other and further relief as the Court

deems just and proper.

Dated:        September 30, 2022
              Briarcliff Manor, New York

                                           Elefterakis, Elefterakis & Panek



                                           _________________________
                                           Gabriel P. Harvis
                                           Baree N. Fett
                                           80 Pine Street, 38th Floor
                                           New York, New York 10005
                                           (212) 532-1116

                                           Attorneys for plaintiff



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